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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CHELSEA L. DAVIS,                             §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §           Civil Action No. 3:14-CV-3975-N
                                              §
MCKOOL SMITH, et al.,                         §
                                              §
       Defendants.                            §

                                          ORDER

       This Order addresses Plaintiff Chelsea L. Davis’s motion to appoint counsel [Doc.

41].1 The Court denies the motion.

       “A civil rights complainant has no right to the automatic appointment of counsel

unless the case presents exceptional circumstances.” Freeze v. Griffith, 849 F.2d 172, 175

(5th Cir. 1988). The Fifth Circuit has identified four factors to consider when determining

whether to appoint counsel: (1) “the type and complexity of the case,” (2) “whether the


       1
        Despite Davis’s appeal, the Court retains jurisdiction of the case to enter this order.
See United States v. Green, 882 F.2d 999, 1001 (5th Cir. 1989) (holding notice of appeal
from a nonappealable order does not divest the district court of jurisdiction); United States
v. Hitchmon, 602 F.2d 689, 693 (5th Cir. 1979) (noting the contrary rule “leaves the court
powerless to prevent intentional dilatory tactics, forecloses without remedy the nonappealing
party’s right to continuing trial court jurisdiction, and inhibits the smooth and efficient
functioning of the judicial process), superseded on other grounds as recognized in United
States v. Martinez, 763 F.2d 1297, 1308 n.11 (11th Cir. 1985). Davis’s amended notice of
interlocutory appeal in this action exclusively purports to appeal either state court orders or
orders that were not issued in this action. See Am. Notice of Interlocutory Appeal [24] 2–3.
In the notice of interlocutory appeal filed on January 27, 2015, Davis again purports to
appeal orders that were not issued in this action. See Notice of Interlocutory Appeal [44].



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indigent is capable of adequately presenting his case,” (3) “whether the indigent is in a

position to investigate adequately the case,” and (4) “whether the evidence will consist in

large part of conflicting testimony so as to require skill in the presentation of evidence and

in cross examination.” Ulmer v. Chancellor, 691 F.2d 209, 213 (5th Cir. 1982). This case

does not present particularly complex issues, and Davis is a licensed attorney. Because there

are no exceptional circumstances that warrant the appointment of counsel, the Court denies

the motion.



       Signed February 4, 2015.



                                                  _________________________________
                                                            David C. Godbey
                                                       United States District Judge




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